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 5   Attorney for Defendant RUSSELL OTT

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 8                               UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA                           No. CR-17-0533 EMC

12                                 Plaintiff,           STIPULATION AND [PROPOSED]
                                                        ORDER MODIFYING PRETRIAL
13                  v.                                  RELEASE CONDITIONS

14   RUSSELL TAYLOR OTT,

15                                 Defendant.
                                                    /
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17          IT IS HEREBY STIPULATED by and between the parties that the following

18   modification can be made to the conditions of release for defendant Russell Taylor Ott in the

19   above entitled case.

20          Defendant Russell Taylor Ott is allowed to work for his brother Terry Ott’s drywall

21   company, T L Ott Drywall, located at 1109 Piner Creek, Santa Rosa, CA 95401 as a drywall

22   installer and finisher. Defendant Ott is to cooperate with Pretrial Services and comply with any

23   reporting and notification requirements set out by Pretrial Services as to his employment.

24          Counsel Robert Waggener has verified that United States Pretrial Services Officer Josh

25   Libby has no objection to the proposed modification of Mr. Ott’s release conditions and that he

26   has verified with Terry Ott that he is willing and able to employ his brother, Russell Ott.

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     STIP & [PROPOSED] ORDER RE
     MODIFICATION OF RELEASE CONDITIONS
 1          All other conditions of Mr. Ott’s release conditions are to remain in effect.

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 4   Dated: August 22, 2018                                      /s/
                                                  ROBERT WAGGENER
 5                                                Attorney for Defendant

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 8   Dated: August 22, 2018                                      /s/
                                                  MEREDITH OSBORN
 9                                                Assistant United States Attorney

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11                                        [PROPOSED] ORDER

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            IT IS SO ORDERED
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15
     Dated: August 23, 2018
16                                                SALLIE KIM
                                                  United States Magistrate Judge
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     STIP & [PROPOSED] ORDER RE
     MODIFICATION OF RELEASE CONDITIONS              -2-
